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 PROB35               Report and Order Terminating Probation/SupervisedRelease     t--lL.i Ll
(Rev.5101)                                                  Date
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         TINITEDSTATESOF AMERICA

                                                       Crim.No. l: 10CR00324-3

                ShawanaN. Walker


      On October5,2012,the abovenamedwasplacedon supervised      releasefor a periodof threeyears'She
hascompliedrvith the rulesandregulationsof supervisedreleaseandis no longerin needof supervision.It is
accordinglyrecommended                       from supervision.
                         that shebe discharged




                                                      BaylanThomas
                                                      UnitedStatesProbationOfficer


                                     ORDEROF THE COURT

      pursuantto the aboverepoft,it is orderedthatthe defendant           from supervisionandthatthe
                                                              is discharged
          in the casebe terminated.
proceedings

       o*"aulr" 264              dayofJanuary,2o15.
